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                      Inner City Press
July 27, 2023
By ECF
Hon. Lewis A. Kaplan, United States District Judge
Southern District of New York, 500 Pearl Street, New York, NY 10007
Re: Press opposition to sealing of documents defendant already provided to the
New York Times, in US v. Bankman-Fried, et al., 22-cr-673 (LAK) and/or to
intervene, if deemed necessary
Dear Judge Kaplan:
  Inner City Press has been covering the above captioned criminal case and has
just seen the defense's cursory application to file under seal the documents that Mr.
Bankman-Fried provided to the New York Times. The request is internally
inconsistent: the defendant already gave them to one media outlet. It is akin to the
evisceration of a Freedom of Information Act exemption by a record being already
publicly available.
Again, this defendant is being treated different than other defendants in this
District, most recently by the dropping of (campaign finance) charges due to the
position of another country (the Bahamas).
  It appears unclear how the issue has been resolved of the July 13, 2023 defense
submission of/on a list of people whom defendant seeks to exempt from the
conditions that "(1) a security guard must be present at the house to screen the
visitors for any electronic devices, and (2) the visitors must sign the electronic
visitor log."
"Representatives of the press must be given an opportunity to be heard on the
question of their exclusion from a court proceeding, and we have recognized a
similar right of news media to intervene in this Court to seek unsealing of
documents filed in a court proceeding." Trump v. Deutsche Bank AG, 940 F.2d
146, 150 (2d Cir. 2019).
   "The common law right of public access to judicial documents is firmly rooted
in our nation's history." Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119
(2d Cir. 2006).


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   This is an application for this court to grant or if necessary schedule a hearing on
this challenge to the proposed withholding of this information, as SDNY Judges
Hellerstein, Castel, Furman and others have done. See, e.g.,
https://storage.courtlistener.com/recap/gov.uscourts.nysd.516151/gov.uscourts.nys
d.516151.85.0.pdf and and US v. Weigand, 20-cr-188 (JSR), see Dkt. No. 250.
  As with the previous and successful opposition to the attempted sealing of this
defendant's suretors, this application by letter filed on ECF.
 If appropriate, PLEASE TAKE NOTICE that Inner City Press and its undersigned
reporter, in personal capacity, will move this Court before Honorable Lewis A.
Kaplan, U.S. District Judge for the Southern District of New York, at a date and
time directed by the Court, for entry of an order granting permission to be heard on
sealing or unsealing of the documents the defendant already gave to the New York
Times, of the list submitted on July 13, 2023 and other information in US v.
Bankman-Fried, et al., 22-cr-673 (LAK).
Thank you.
Respectfully submitted,
/s/
Matthew Russell Lee
Inner City Press
cc: counsel via ECF




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